         Case 1:21-cr-00175-TJK Document 225 Filed 11/18/21 Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                             Complainant,
            v.                                               Criminal Case No.

ZACHARY REHL                                                 1:21-cr-00175-TJK-3

                             Accused


                                                             Assigned to the Honorable
(Styled as USA v. NORDEAN incorporating cases                Timothy J. Kelly
against four Defendants collectively)



           ACCUSED ZACHARY REHL’S NOTICE AND MOTION
      REGARDING JOINING ETHAN NORDEAN’S MOTION TO DISMISS
FIRST SUPERSEDING INDICTMENT WITH INCLUDED MEMORANDUM OF LAW

       Comes now the Accused ZACHARY REHL, by counsel, and hereby provides notice and

moves the Court, as impliedly at least inquired into by Judge Kelly, to join in Defendant Ethan

Nordean’s motion to dismiss the First Superseding Indictment (“indictment”), and for his

grounds states as follows:

       Zachary Rehl, by counsel, respectfully requests that he be permitted to adopt, join,

support, and have the benefit of the previously-filed DEFENDANT NORDEAN’S MOTION

TO DISMISS THE FIRST SUPERSEDING INDICTMENT ECF Dkt. # 94 (“Nordean MTD”),

and the associated briefs filed in support thereof.

       However, Zachary Rehl strongly wants to avoid any reason for delay in the Court’s

consideration of and decision of said Nordean MTD.

       Because the Nordean MTD is of course arguments of law and precedents, whether Rehl
         Case 1:21-cr-00175-TJK Document 225 Filed 11/18/21 Page 2 of 7




joins or not is probably not necessary to the Court’s decision whether or not to grant the Nordean

MTD in whole or in part. The Court will decide on the law and precedents.

       But it does seem desirable if only to make the record clear that there is no disagreement

on the requests and arguments in the Nordean MTD among the co-Defendants. The Nordean

MTD is well advanced in the Court’s consideration. The other Defendants have already had oral

argument before the Honorable Timothy J. Kelly. The Nordean MTD is almost mature and ripe

for decision by this Court. The Court has ordered supplemental briefing on two issues of

statutory construction and alleged unconstitutional vagueness. After the filing of supplemental

briefing by the Government and then a response by the Defendants and a Reply by the

Government previously ordered and scheduled, the Nordean MTD will be ripe for decision by

this Court in early December.

       Therefore, Zachary Rehl would like to join in the Nordean MTD in all respects and fully

support and endorse and adopt the arguments and positions of the Nordean MTD.

       As a result, Zachary Rehl wishes file a brief supplemental brief as the Court invited other

Defendants to do, if the Court would allow it.

       However, Rehl does not intend to raise any new issue that would require a response from

the Government or additional procedural steps, though the Government is scheduled to file a

Reply as it wishes. Rehl expects that that Government can file a Reply individually to the

Defendants or in a consolidated fashion to allow the Government to fully respond.

       Rehl waives oral argument and relies upon the oral argument already presented by

counsel for Ethan Nordean and Joseph Biggs.

       It may be helpful to remember that

       (1) The Court ordered supplemental briefing on the element of the crime that an accused




                                                 2
  Case 1:21-cr-00175-TJK Document 225 Filed 11/18/21 Page 3 of 7




   acts “corruptly in the charge under 18 U.S.C. 1512(c)(2). This is alleged straight up

   in Count II.

(2) But it should not be neglected that 18 U.S.C. 1512(c)(2) is also one of two (2) bases

   for the conspiracy charge of 18 U.S.C. 371 under Count I, not merely in Count II. It

   is likely that the Court would also find that at least one of the bases of the alleged

   conspiracy under Count I would be affected if the Court were to dismiss Count II or

   perhaps phrased differently construe 18 U.S.C. 1512(c)(2) as not applying to the facts

   alleged or not being properly construed as necessary to apply it to the facts alleged.

(3) Therefore, both Count I and Count II are potentially at issue with regard to 18 U.S.C.

   1512(c)(2) under the Nordean MTD.

(4) Zachary Rehl is charged with aiding and abetting a violation of 18 U.S.C. 1512(c)(2)

   but presumably if 18 U.S.C. 1512(c)(2) were found not to apply or being stretched

   beyond its proper interpretation and application, that the charge against Zachary Rehl

   in Count II of aiding and abetting of 18 U.S.C. 1512(c)(2) would similarly be

   dismissed.

(5) However, the Nordean MTD also challenges other aspects of the indictment as well:

(6) Application of the Rule of Lenity because the use of 18 U.S.C 1512(c)(2), 18 U.S.C.

   § 1752(a)(2), and 18 U.S.C. 231 are novel and would not fairly apprise persons that

   they might be violating the law under its new interpretation.

(7) Application of the Novel Construction Principle because the use of 18 U.S.C

   1512(c)(2), 18 U.S.C. § 1752(a)(2), and 18 U.S.C. 231 are novel and would not fairly

   apprise persons that they might be violating the law under its new interpretation.

(8) Counts V and VI under 18 U.S.C. 1752(a)(2) and 18 U.S.C. 1752(c) are challenged




                                         3
       Case 1:21-cr-00175-TJK Document 225 Filed 11/18/21 Page 4 of 7




     (9) Count III under 18 U.S.C. 231 is challenged.

     (10)   The Counts supported by allegations of civil disorder are challenged as

        inadequately pled.

     (11)   Count IV under 18 U.S.C. 1361 is challenged as inadequately pled.

     WHEREFORE, ZACHARY REHL, BY COUNSEL, MOVES THIS HONORABLE

COURT TO:

            (1) Allow Zachary Rehl to join in the motion to dismiss filed by Ethan Nordean,

                supporting, adopting, and agreeing with Motion to Dismiss, including

                considering each of its points together or individually against the First

                Superseding Indictment.

            (2) To dismiss the First Superseding Indictment as against him as well as the

                other Defendants in whole or in part, ruling Count by Count, hopefully in all

                respects but to the maximum extent that the Court may agree,

            (3) Where the Nordean MTD is drafted as specifically referring to Ethan

                Nordean, Rehl asks the Court to consider the same arguments, application,

                and facts to be considered as applying to Rehl instead (or also), as if he

                Motion to Dismiss mentioned Rehl in addition to Nordean.

            (4) Decide the Nordean MTD expeditiously and not construe or treat any action

                or position of Zachary Rehl as causing any delay in evaluating and deciding

                the Nordean MTD,

            (5) Consider the oral argument already provided by counsel for Ethan Nordean

                and Joseph Biggs as fully satisfying Rehl’s involvement in the Nordean MTD,

                and accept Rehl’s waiver of oral argument or any other procedural steps that




                                              4
         Case 1:21-cr-00175-TJK Document 225 Filed 11/18/21 Page 5 of 7




                   might delay the proceedings.

               (6) Allow Rehl to participate in the supplemental briefing ordered by the Court,

                   counsel believing that the Government w
                                                         would
                                                           ould be allowed to file a Reply either

                   specific to each Defendant or in a consolidated matter, as it wishes, so that

                   there should be no prejudice or delay and the Government will have the full

                   opportunity to Reply.

Dated: November 18
                18,, 2021             RESPECTFULLY SUBMITTED
                                                   SUBMITTED,
                                      ZACHARY REHL, by counsel




                                      Jonathon Alden Moseley, Esq.
                                      DC
                                      DCDC
                                         DC Bar No. VA005
                                      Virginia State Bar No. 41058
                                      5765
                                      5765--F
                                            F Burke Centre Parkway, PMB #337
                                      Burke, Virginia 22015
                                      Telephone: (703) 656
                                                         656--1230
                                                              1230
                                      Contact@JonMoseley.com
                                      Moseley391@gmail.com

                            CERTIFICATE OF CONSULTATION

       I hereby certify that around 11:50 AM on November 18, 2021 2021,, I inquired of both of the
primary prosecutors assigned specifically to this case if the Government had a position on this
motion – which should include in counsel’s understanding the possibility of negotiating wording
and approach that might satisfy both sid
                                     sides
                                         es by modification.

       Assistant U.S. Attorney Luke Jones replied that:

               The government does not oppose your motion to join defendant
               Nordean’s motion to dismiss, on the condition that all government
               filings related to the motion are also deemed as applying to defendant
               Rehl. Likewise, the government does not oppose your request for
               leave to file a response to the government’s supplemental filing today
               (Nov. 17, 2021), consistent with the terms of the Court’s Minute
               Order of Nov. 3, 2021. The gover
                                              government
                                                   nment will address any additional


                                                  5
         Case 1:21-cr-00175-TJK Document 225 Filed 11/18/21 Page 6 of 7




               arguments raised in connection with the motion at the appropriate
               time.

       Zachary Rehl, by counsel, agrees with this clarification and intends that his motion be
understood as requesting and stating what AUSA Luke Jones iidentified
                                                               dentified immediately above.




                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 18, 2021
                                                2021,, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice ooff electronic
filing to the following CM/ECF participant(s). From my review of the PACER / ECF docket
records for this case that the following attorneys will receive notice through the ECF system of
the U.S. District Court for the District of Columbia.

                  Mr. Luke Matthew Jones, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 Fourth Street, N.W.
                  Washington, DC 20530
                  (202) 252-7066
                        252 7066
                  (202) 616-8470
                        616 8470 (fax)
                  ahmed.baset@usdoj.gov

                  Mr. Jason Bradley Adam Mc
                                          McCullough,
                                              Cullough, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 4th Street, NW
                  Washington, DC 20001
                  (202) 252-7233
                        252 7233
                  jason.mccullough2@usdoj.gov

                  Mr. James B. Nelson, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 Fourth Street NW, Room 4112
                  Washington, DC 20530
                  (202) 252-6986
                        252 6986
                  james.nelson@usdoj.gov




                                                 6
Case 1:21-cr-00175-TJK Document 225 Filed 11/18/21 Page 7 of 7




                              7
